          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL           Document
                        Document 14 Entered64on Filed
                                                FLSD10/21/19  Page 1 of 35
                                                      Docket 10/15/2019  Page 1 of 35


                                                                                 BNDDUTY,CLOSED
                                U.S. District Court
                         Southern District of Florida (Miami)
                CRIMINAL DOCKET FOR CASE #: 1:19−mj−03633−LFL−3
                                 Internal Use Only

    Case title: USA v. Constantinescu et al                  Date Filed: 10/10/2019
                                                             Date Terminated: 10/10/2019

    Assigned to: Magistrate Judge Lauren
    Fleischer Louis

    Defendant (3)
    Ionela Constantinescu                     represented by Hector L. Flores
    20646−104                                                Barzee Flores, P.A.
    YOB 1983 English                                         Courthouse Center, Penthouse 1
    TERMINATED: 10/10/2019                                   40 NW Third Street
    also known as                                            Miami, FL 33128
    Pitica                                                   305−374−3998
    TERMINATED: 10/10/2019                                   Fax: 379−6668
                                                             Email: hectorflores@barzeeflores.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: CJA Appointment

    Pending Counts                                          Disposition
    None

    Highest Offense Level (Opening)
    None

    Terminated Counts                                       Disposition
    None

    Highest Offense Level (Terminated)
    None

    Complaints                                              Disposition
    WARRANTS/INDICTMENT/SOUTHERN
    DISTRICT OF NEW
    YORK/CONSPIRACY TO COMMIT
    ACCESS DEVICE, WIRE AND BANK
    FRAUD; AGGRAVATED IDENTITY
    THEFT AND CONSPIRACY TO COMMIT
                                                                                                    1
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL           Document
                        Document 14 Entered64on Filed
                                                FLSD10/21/19  Page 2 of 35
                                                      Docket 10/15/2019  Page 2 of 35


    MONEY LAUNDERING



    Plaintiff
    USA                                          represented by Noticing AUSA CR TP/SR
                                                                Email: Usafls.transferprob@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

     Date Filed   # Page Docket Text
     10/10/2019   1    3 Magistrate Removal of Warrants/Indictment from the Southern District of New
                         York; Case number in the other District, 19CRIM 651, as to Mircea
                         Constantinescu (1), Alin Hanes Calugaru (2), Ionela Constantinescu (3) and
                         George Serban (4). (cg1) (Entered: 10/10/2019)
     10/10/2019   6   28 Minute Order for proceedings held before Magistrate Judge Lauren Fleischer
                         Louis: Initial Appearance as to Ionela Constantinescu held on 10/10/2019. Bond
                         recommendation/set: Ionela Constantinescu (3) $25K PSB. Date of Arrest or
                         Surrender: 10/10/19. Removal Hearing set for 10/11/2019 1:30 PM in Miami
                         Division before MIA Duty Magistrate. Attorney added: Hector L. Flores for
                         Ionela Constantinescu for Criminal Case CJA representation. Date attorney was
                         appointed CJA: 10/10/19. (Digital 14:20:02) Signed by Magistrate Judge Lauren
                         Fleischer Louis on 10/10/2019. (dgj) Modified on 10/11/2019 (dgj). (Entered:
                         10/11/2019)
     10/10/2019   9   35 ORDER OF REMOVAL ISSUED to the Southern District of New York as to
                         Ionela Constantinescu. Closing Case for Defendant. Signed by Magistrate Judge
                         Lauren Fleischer Louis on 10/10/2019. See attached document for full details.
                         (cg1) (Entered: 10/15/2019)
     10/11/2019   7       $25,000 PSB Bond Entered as to Ionela Constantinescu Approved by Magistrate
                          Judge Lauren Fleischer Louis. Please see bond image for conditions of release.
                          (at) (Additional attachment(s) added on 10/11/2019: # 1 Restricted Bond with 5th
                          Page) (at). (Entered: 10/11/2019)
                      29 Main Document
                          Attachment # 1 Restricted Bond with 5th Page (Not Attached)
     10/11/2019   8   34 Minute Entry for proceedings held before Magistrate Judge Lauren Fleischer
                         Louis: Removal Hearing as to Ionela Constantinescu held on 10/11/2019. (Digital
                         13:41:57/15:28:59) (cg1) (Entered: 10/15/2019)




                                                                                                             2
                Case
                Case 1:19-cr-00651-LTS
      Case 1:19-mj-03633-LFL
                      1:19-mj-03633-LFL Document
                               Document 14 Entered64
                                         Document     Filed
                                                   1onFiled
                                                       FLSD 10/21/19
                                                            10/10/19 Page 13 of
                                                                             of 25
                                                             Docket 10/15/2019
                                                                     Page       35
                                                                                 Page 3 of 35
                                  19-3633-MJ-LOUIS
AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District of New York

                 United States of America
                            v.                                     )
               MIRCEA CONSTANTINESCU,                              )       Case No. 19 Cr.
                            a/k/a "Sabo"                           )


                                                                            l9CR1M
                                                                   )
                                                                   )
                                                                   )
                              Defendant

                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) MIRCEA CONSTANTINESCU, a/k/a "Sobo"
who is accused of an offense or violation based on the following document filed with the court:

ref Indictment              0 Superseding Indictment      0 Information      0 Superseding Infonnation           0 Complaint
0 Probation Violation Petition             0 Supervised Release Violation Petition   0 Violation Notice 0 Order of the Court

This offense is briefly described as follows:
  Conspiracy to commit access device fraud, in violation ofTitle 18, United States Code, Section 1029(b){2)
  Conspiracy to commit wire fraud and bank fraud, in violation of Title 18, United States Code, Section 1349
  Aggravated identity theft, in violation of Title 18, United States Code, Section 1028A
  Conspiracy to commit money laundering, in violation of Title 18, United States C9c/e, 'S,ec;tfod �9!)(,(h)




Date:        09/09/2019


City and state:      New York, New York

                                                                                          Ii I I


                                                                Return

           This wairnnt was received on (date) - -----
                                                 -     , and the person was arrested on (date)
at (city and state)

Date: _____ _ _
              _
                                                                                     Arresting officer's signature



                                                                                        Printed name and title
                        .




                                                                                                                               3
                Case
                Case 1:19-cr-00651-LTS
      Case 1:19-mj-03633-LFL
                      1:19-mj-03633-LFL Document
                               Document 14 Entered64
                                         Document     Filed
                                                   1onFiled
                                                       FLSD 10/21/19
                                                            10/10/19 Page 24 of
                                                                             of 25
                                                             Docket 10/15/2019
                                                                     Page       35
                                                                                 Page 4 of 35
                               19-3633-MJ-LOUIS
AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of New York

                      United States of America
                                 v.                               )
                      ALIN HANES CALUGARU                                         Case No.          19 Cr.


                                                                                                                                     651
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                             Defendant

                                                    ARREST WARRANT
To:        Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested} AUN HANES CALUGARU
who is accused of an offense or violation based on the following document filed with the court:

r,I Indictment             0 Superseding Indictment       0 Information                0 Superseding Information                     O Complaint
0 Probation Violation Petition            0 Supervised Release Violation Petition                    0 Violation Notice O Order of the Court

This offense is briefly described as follows:
  Conspiracy to commit access device fraud, in violation ofTitle 18, United States Code, Section 1029(b)(2)
  Conspiracy to commit wire fraud and bank fraud, in violation of Title 18, United Stat\'� Code, Section 1349
  Aggravated identity theft, in violation of Title 18, United States Code, Sec;tion \1028A · ..
  Conspiracy to commit money laundering, in violation ofTitle 18, United 'St<1les Code; S0ction 1956(h)




Date:          09/09/2019
                                                                          I   '   ,'
                                                                                                    .r�-�
                                                                                              /r---t+--- ' '
                                                                                  ---'- �-
                                                                                        - ----+----
                                                                                          / / Issuing u_!fi;er 's signature
                                                                                        ..I         'I
                                                                                                   '�    . . ·,,  .
                                                                                       H6�..             <i 1:.
                                                                                         '                            )

City and state:          New York, New York                                      J,i                             Cott, U.S. Magistrate Judge
                                                                                               '         '




                                                                      ----�� � �.;.c
                                                                            1 .                          •p;.inted name and title


                                                              Return

          This warrant was received on (date} _       _   _
                                                          _ __ , and the person was arrested on (date} _ _ _ _                                     __
at (city and state)

Date:
                                                                                                     Arresting officer's signature



                                                                                                             Printed name and tUle



                                                                                                                                                    4
                Case
                Case 1:19-cr-00651-LTS
      Case 1:19-mj-03633-LFL
                      1:19-mj-03633-LFL Document
                               Document 14 Entered64
                                         Document     Filed
                                                   1onFiled
                                                       FLSD 10/21/19
                                                            10/10/19 Page 35 of
                                                                             of 25
                                                             Docket 10/15/2019
                                                                     Page       35
                                                                                 Page 5 of 35
                              19-3633-MJ-LOUIS
AO 442 (Rev. 11/11) ArrestWarrant



                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District of New York

                 United States of America
                            v.                                  )
               IONELA CONSTANTINESCU,                           )        Case No.                 19 Cr.
                       a/k/a "Pitica"                           )
                                                                ti''
                                                                )i
                           Defendant

                                                   ARREST WARRANT
To:       Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) ION ELA CONSTANTINESCU, a/k/a "Pitica"
who is accused of an offense or violation based on the following document filed with the court:

ref Indictment          0 Superseding Indictment        0 Information          0 Superseding Information                             O Complaint
0 Probation Violation Petition          0 Supervised Release Violation Petition                        0 Violation Notice O Order of the Court

This offense is briefly described as follows:
 Conspiracy to commit access device fraud, in violation of Title 18, United States Code, Section 1029(b)(2)
 Conspiracy to commit wire fraud and bank fraud, in violation of Title 18, Unito<ll ,St,qtes Code, Section 1349
 Aggravated identity theft, in violation a/Title 18, United States Cod13, Se1�\li:\n 102,?A,




Date:        09/09/2019                                             ,��� \;•::� !/ (r1/
                                                                    I'       \ ,       I          1
                                                                                                       '   bsuing officer's signature
                                                                                      1/
                                                                         '         ' ,;·, '           !. ,<
                                                                         .. _ ���- -la��e,s. L. Cott, U.S. Magistrate Judge
                                                                                                                1'

City and state:      New York, New York
                                                                                   ' , ··<_:_./             Printed name and title


                                                             Return

           This warrant was received on (date) ___      _____ , and the person was arrested on (date)
at (city and state)

Date: _     _
            _____ _
                                                                                                      Arresting officer's signature



                                                                                                            Printed name and title



                                                                                                                                                   5
                 Case
                 Case 1:19-cr-00651-LTS
       Case 1:19-mj-03633-LFL
                       1:19-mj-03633-LFL Document
                                Document 14 Entered64
                                          Document     Filed
                                                    1onFiled
                                                        FLSD 10/21/19
                                                             10/10/19 Page 46 of
                                                                              of 25
                                                              Docket 10/15/2019
                                                                      Page       35
                                                                                  Page 6 of 35
                                            19-3633-MJ-LOUIS
 AO 442 (Rev. 11/11) Arrest Warrant



                                                       UNITED STATES DISTRICT COURT
                                                                              for the
                                                                  Southern District of New York

                           United States of America
                                      v.                                        )
                                George Serban                                   )               Case No. .19 Cr"....
                                                                                                              f' /
                                                                                )
                                                                                )
                                                                                )
                                                                                )
                                           Defendant


                                                                  ARREST WARRANT
To:           Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(,wme ofperson to be arrested)
                               �==- =E�SERBAN
                                GEORG     = =�--"-'- - - - -- - -    - ------- -              - -- -
                                                                                                   --- - -  -
who is accused of an offense or violation based on the following document filed with the court:

r,I Indictment                      0 Superseding Indictment           0 Infonnation                      0 Superseding Information                                      O Complaint
0 Probation Violation Petition                          0 Supervised Release Violation Petition                                             0 Violation Notice O Order of the Court

This offense is briefly described as follows:
   Conspiracy to commit access device fraud, in violation ofTitle 18, United States Code, Section 102 9 (b)(2)
   Conspiracy to commit wire fraud and bank fraud, in violation of Title 1il; Unitec/, States Code, Section 1349
   Aggravated identity theft, in violation of Title 18, United States Cocje, Se,�tion tO��A
                                                                                     '                                                           '
                                                                                          ' J         '       '   ,    '         '          /




Date: ___c0cc9"-/ 0cc9cc/2"'0'--1cc9'---     -
                                                                                                                       f
                                                                                                                             ·          , 'lssuii_1g officer's signature
                                                                                          ,',   _i'
                                                                                                      I
                                                                                                              '   ',   �\   ;.   ',   • t  , ''.     '




City and state:              _Jiew York, New York                                                         Hon .\Jar/)es L. Cott, U.S. Magistrate Judge
                                                                                                                                                 I




                                                                                         ,. ,
                                                                                                                                                                     •


                                                                                    --,�·--.-,                  "'--=
                                                                                                          1
                                                                                                                                                Printed name and title


                                                                            Return

          This warrant was received on (date) ------                         � , and the person was arrested on (date)
                                                                             -
at (dty and state)

Date:
                                                                                                                                        Arresting officer's signature



                                                                                                                                                Printed name and title




                                                                                                                                                                                       6
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 57 of
                                                       Docket 10/15/2019
                                                               Page        PageYR
                                                                       of 25
                                                                          35    7 of 35

     19-3633-MJ-LOUIS                                                 Oct 10, 2019

                                                                                 Miami




                                                                                          7
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 68 of
                                                                       of 25
                                                       Docket 10/15/2019
                                                               Page       35
                                                                           Page 8 of 35




                                                                                          8
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 79 of
                                                                       of 25
                                                       Docket 10/15/2019
                                                               Page       35
                                                                           Page 9 of 35




                                                                                          9
          Case
           Case1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                        Document 14  Entered64
                                   Document  1on Filed
                                                 FLSD10/21/19
                                                 Filed 10/10/19 Page
                                                                Page 10
                                                                      8 ofof25
                                                        Docket 10/15/2019    35 10 of 35
                                                                             Page




                                                                                       10
          Case
           Case1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                        Document 14  Entered64
                                   Document  1on Filed
                                                 FLSD10/21/19
                                                 Filed 10/10/19 Page
                                                                Page 11
                                                                      9 ofof25
                                                        Docket 10/15/2019    35 11 of 35
                                                                             Page




                                                                                       11
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 10
                                                                     12 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 12 of 35
                                                                           Page




                                                                                     12
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 11
                                                                     13 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 13 of 35
                                                                           Page




                                                                                     13
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 12
                                                                     14 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 14 of 35
                                                                           Page




                                                                                     14
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 13
                                                                     15 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 15 of 35
                                                                           Page




                                                                                     15
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 14
                                                                     16 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 16 of 35
                                                                           Page




                                                                                     16
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 15
                                                                     17 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 17 of 35
                                                                           Page




                                                                                     17
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 16
                                                                     18 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 18 of 35
                                                                           Page




                                                                                     18
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 17
                                                                     19 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 19 of 35
                                                                           Page




                                                                                     19
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 18
                                                                     20 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 20 of 35
                                                                           Page




                                                                                     20
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 19
                                                                     21 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 21 of 35
                                                                           Page




                                                                                     21
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 20
                                                                     22 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 22 of 35
                                                                           Page




                                                                                     22
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 21
                                                                     23 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 23 of 35
                                                                           Page




                                                                                     23
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 22
                                                                     24 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 24 of 35
                                                                           Page




                                                                                     24
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 23
                                                                     25 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 25 of 35
                                                                           Page




                                                                                     25
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 24
                                                                     26 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 26 of 35
                                                                           Page




                                                                                     26
          Case
          Case 1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
                1:19-mj-03633-LFL Document
                         Document 14 Entered64
                                   Document     Filed
                                             1onFiled
                                                 FLSD 10/21/19
                                                      10/10/19 Page 25
                                                                     27 of
                                                       Docket 10/15/2019
                                                               Page     of 25
                                                                           35 27 of 35
                                                                           Page




                                                                                     27
             Case  1:19-cr-00651-LTS
   Case 1:19-mj-03633-LFL
               Case  1:19-mj-03633-LFLDocument
                            Document 14  Entered64on
                                       Document   6 Filed
                                                     Filed10/21/19
                                                     FLSD  10/10/19 Page
                                                                     Page28
                                                           Docket 10/15/2019of 1Page
                                                                          1 of  35 28 of 35
                                          M IN UTE O RDER                                              Page6
                                M agistrate Judge Lauren F.Louis
               AtkinsBuildingCourthouse-11 thFloor
                                        5 7- 7
                                             -     .                 è
                                                                         Date:10/10/2019 Time:1:30p.m.
Defendant: 3)IONELA CONSTANTINESCU J#:20646-104               Case#: 19-3633-MJ-LOUIS
AUSA: Shane Butland                                   Attorney:
violation:S/D/NY/WARR/INDICT/CONSP/COMMITACCESSDEVICE
          FRAUD/wIREFRAUD/BANKFRAUD/AGGRAVATEDIDTHEFT        Surr/ArrestDate:10/10/2019           YOB:1983
proceeding: InitialAppearance                                     G A Appt: HectorFlores,Esq.
Bond/pTD Held:c yes d No                 RecommendedBond:
Bond Setat:                                                       Co-signed by:

 I-I
  V surrenderand/ordonotobtuinpussports/truveldocs                       Language: English
 np. ReporttoPTscsdirected/or                    x'saweek/monthby Disposition:
      phone:         x'saweek/monthinperson                              nefendantadvised ofrihtsand
      Random urine testing by Pretrial
 Nr services                                                             charges
      Treatm ent as deem ed necessary
 Nr Refrainfrom excessiveuseofalcohol                                    lndictmentUnsealedinS/DofN.Y.
 Nr Participateinmentalhealthassessment&treatment
 NF Maintuinorseekfull-timeemployment(cancontinuetowork                  Defendantsworn;cJAcounsel
      through/@2                                                         appointed
 Nr   Nocontactwithvictims/witnesses,exceptthroughcounsel
 nr   Nofirearms                                                         Govtrec$25K#J:(courtsets)
 nr   Nottoencumberproperty
 Nr   Maynotvisittransportationestablishments
      Homeconfinement/ElectronicMonitorinqand/or
      Curfew            pm to             um ,puid by USPO
      Allow ances:M ediculneeds,rourtappeurunces,attorney visits,
      em plovm ent,trunsporting children to school                        yim efrom today to         excluded
 NF Truvelextendedto:s/DOFn;</DoFN.Y.&E/DOFN.K           fromspeedyTrialclock
 RV other:Noemploymentw/uccesstocreditcardsorPlIo;others
NEXT COURT APPEARANCE   Date:             Tim e:         Judge:                          Plate:
ReportRE Counsel'
                .
PTD/Bond Hearing:
RemovulHeurinq:              10/11/19            1:30p-m .         Duty/M iami
StatusConference RE:
D.A.R. 14:20:02                                                Tim e in Court:         40 m ins
                                 s/Lauren F.Louis                                      MagistrateJudge
                                                                                                        28
               Case  1:19-cr-00651-LTS
     Case 1:19-mj-03633-LFL
                 Case  1:19-mj-03633-LFLDocument
                              Document 14  Entered64on
                                         Document   7 Filed
                                                       Filed10/21/19
                                                       FLSD  10/11/19 Page
                                                                       Page29
                                                             Docket 10/15/2019of 5Page
                                                                            1 of  35 29 of 35
(Rev.03/2016)
                                    UNITED STA TE S D ISTRICT CO U R T
                                    SO UTH ER N D ISTR ICT O F FL O RID A

                        AppsAlu xcEsoxo: 19 - Ju-4z - M g'- V ,œ/k
                                      C ASE N O .:

UN ITED STATES OF A M ERICA :
                 Plaintiff,
V.                                                           JAIL#:5 4*-104
?oelœk C'olNA ,-/,'4:-scq
                      D efendant,


1,thetmdersigneddefendantand Iorwe,theundersignedsureties,jointlyand severallyacknowledgethatweand
olzrpwersnnalrepresentat'ves,jointlyandseverally,arebotmdtopaytheUnitedStatesofAmerica,thestuu of
$ k 5v          RA      .                            .
                                    STA ND AR D C O ND ITION S O F B O ND

The conditionsofthisbond are thatthedefendant:
    1. Shall appear before this court and at such other places as the defendnnt m ay be required to appear, in
accordance with any and a11orders and directions relating to the defendant's appearance in tlzis case,including
appearance forviolation ofa condition of the defendnnt's release as m ay be ordered ornotised by this courtor any
otherU nited StatesDistrictCourtto w hich the defendantm ay beheld to answ erorthe cause kansfen'ed.The defendant
isto abideby anyjudgmententeredin suchmatterbysurrendelingtoserveany sentenceimposedand obeyingany
orderordirectioninconnectionw1t14suchjudo ent.Thisisaconthmingbond,including anyproceedingonappealor
review ,wllich shallrem ain in fullforceand efectuntil-such tim e asthe courtshallorderothenvise.

        M ay notatanytime,forany reasonwhatever,leavetheSouthem DistrictofFloridaorotherDistricttowhich
the case m ay be rem oved ortransferred afterhe orshe hasappeared in such Districtpursllantto the conditionsofthis
bond,withoutfrstobtaining written perm ission from the court,exceptthata defendantordered rem oved orlm nsferred
to anotherdistrictm ay kavelto thatclistrictasrequired forcourtappearancesand Z aIpreparation upon written notice
to the Clerk of this courtorthe courtto w hich the case has been rem oved or tanqferred.The Southem District of
Florida coltsistsofthe following counties:M onroe,M iam i-D ade,Brow ard,Palm B each,M artin,St.Lucie,Indian
River,O keechobee,and H ighlands.

    3. M ay notchange hisorherpresentaddressasrecorded on thisbond w ithoutpriorperm ission in writing from
the court.

    4. Is required to appearin courtata1ltim es asrequired by notice given by the courtoritsclerk to the address
on thisbond orin open courtorto the address mschanged by perm ission from the court.The defendantisrequired
to mscertain from the Clerk of Courtor defense counselthe tim e and place of a11 scheduled proceedings on the
case.In no eventm ay a defendantassum e thathis orher case has been dism issed llnlessthe courthasentered an
orderofdism issal.

    5. The defendant m ust cooperate w ith law enforcem entofficers in the collection of a DN A snm ple ifthe
collection isrequired by 42 U .S.C .Section 14135a.

     6. Shallnotcom m itany actin violation ofstate orfederallaw s.

                                                                                                              29
                Case  1:19-cr-00651-LTS
      Case 1:19-mj-03633-LFL
                  Case  1:19-mj-03633-LFLDocument
                               Document 14  Entered64on
                                          Document   7 Filed
                                                        Filed10/21/19
                                                        FLSD  10/11/19 Page
                                                                        Page30
                                                              Docket 10/15/2019of 5Page
                                                                             2 of  35 30 of 35

                                                             DEFENDANT:/04*1%fr
                                                                              <e1cc4y/:'zgesc:
                                                             cAsE NCMBER #;- 36 zl -&ty - zot/k
                                                                                 1:A-G E Tw o
                                   SPECIAL CO N DITIO N S O F BO N D
ln addition to compliance with the previously stated conditionsofbond,the defendantmustcomply with the
specialconditions checked below :
     a.Surrender allpassports and traveldocum ents,if any,to the Pretrial Services Oftice and not obtain any
       traveldocum entsduring the pendency ofthe case;
       .   Reportto PretrialServicesasfollows:(       asdirected or- timels)a wctr/cinperson and- timels) a
        week by td ephone;
      c.Subm itto substanceabusetestingand/ortreatment' ,
      d.Refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance,as
           defined in section 102 oftheControlled SubstancesAct(21U.S.C.j802),withoutaprescription by a
        licensed m edicalpractitioner;
      e.Participate in m entalhealth assessm entand/ortreatm ent' ,
      f.Participate and tm dergo a sex offense specific evaluation and treatm ent'
                                                                                 ,                       .
      g.MaintainOradivelySeekfull-timeemployment'                     ,              xopk x.-s.$,# .
 -


                                                ,                 C&G4t
                                                                      ae
      h.M aintain orbegin an educationalprogram ;
      i.A void allcontactw ith victim s oforw itnessesto the crim escharged,exceptthrough counsel,
                                                                                                 '
      j.Refrainfrom possessingafireann,destructivedeviceorotherdangerousweapons;
      k.N one ofthe signatories m ay sell,pledge,m ortgage,hypothecate,encum ber,etc.,any property they own
        untilthe bond isdischarged,orotherwise m odified by the Court;
      1.M ay notvisitcom m ercialtransportation establishm ent:airports,seaport/marinas,comm ercialbus terminals,
           IrJ/?Cstations,etc.;
      m.Noaccesstotheintemetviaanytypeofconnectivitydevice(i.e.,computers,pda'
                                                                             s,cellularphones,rv'
                                                                                                #,
           and follow instructions-as outlined in the agreem entwaiverprovided to you by PretrialSenvices;
 d n.uoMscoxnxsMsx'
                  rpRocpxM Thederendmushallpmicipateinoneoftheollowinghome
           confinementprogram componentsand abideby alltherequirementsoftheprogram which ( )willnot
           or6 4willincludeelectronicmonitoringorotherlocationverifkationsystem,paidforbythedefendant
           baseCur
               dup onhis/herabilit  ytopay()orpaidforbyPretrialtSoervic,eosr(
                  few :You arerestrictedto yourresidence every day âom
                                                                             /).
                                                                            a-sdirected by the Court.
           -



           LHomeDetention:Youarerestrictedtoyourresidenceatalltimesexceptfor:(eV medicalneedsor
               treatment,(V coud appearances,(< attorney-viitsorcourtorderedobligations,and
                (% other
                .
                                              /,'             ..'(              -'rœ
       o.HALFW AY HO USE PLACEM ENT e defendant shallreside at a halfway house or comm unity
         corrections center and abide by a11the nzles and regulationsofthe program .
           You arerestrictedtothehalfwayhouseatalltimesexceptfor:( )employment;( )education;
           ( )religiousservices;( )medical,substanceabuse,ormentalhealthtreatment;( )attorney visits;
           ( )courtappearances;( )courtordered obligations;( ) reporting to PretrialServices;and
           ( )Other
  V p.Maytraveltoandfrom:3                  mustnotifyPretrialServicesoftravelplansbeforeleavingandupon
           ret. .                 ss .
                                     'gsstt
  t q.Complywiththefollowin additionalcondi?
  .
                                           tionsofbond:                  .
               Ao McreGs o ôeeaauK 'a-/ #
                                                         z              J.
                                                                         4 c âs

                                                                                                             30
             Case  1:19-cr-00651-LTS
   Case 1:19-mj-03633-LFL
               Case  1:19-mj-03633-LFLDocument
                            Document 14  Entered64on
                                       Document   7 Filed
                                                     Filed10/21/19
                                                     FLSD  10/11/19 Page
                                                                     Page31
                                                           Docket 10/15/2019of 5Page
                                                                          3 of  35 31 of 35
                                                           DEFENDANT:/r- 3d##- &(
                                                                               ..
                                                                                 lp, .4. 1  -

                                                           cAsENUMBER /orei Qoe> qqg/rkesc%
                                                                              PA G E TH R EE

                   PEN ALTIES A N D SA N CT IO N S A PPLICA BLE TO D EFEN D AN T

       V iolation ofany oftheforegoing conditionsofrelease m ay resultin the im m ediateissuance ofaw arrantforthe
defendant'-
          sarrestaarevocationofrelease,anorderofdetention,asprovidedin18U.S.C.j3148,forfeitureofanybail
posted,and aprosecution forcontemptasprovided in 18 U.S.C.j401,which could resultin apossible term of
im prisonm entora fm e.

        The com m ission of any offense while on pretrial release m ay result in an additional sentence upon
conviction forsuch offense to a term ofim prisonm entofnotm orethan ten years,ifthe offense isa felony;oraterm
ofim prisonm ent of not-m ore-than one year,ifthe offense is a m isdem eanor.This sentence shallbe consecutive to
any othersentence and-m tlstbeim posed in addition to the sentence received for-the offense itself.

       Title 18 U.S.C.51503 makesitacriminaloffenseplnishableby up to fiveyearsofimprisonmentand a
$250,000fmetointimidateorattempttointirnidateawitness,jurororofficerofthecourt;18U.S.C.j1510makesit
a cn'minaloffense pmishable by up to five years of imprisonm ent and a $250,000 fine to obstruct a criminal
investigation'
             ,18 U.S.C,j1512 makesita cn'minaloffenseplnishableby up toten yearsofimprisonmentand a
$250,000 fmeto tnmperwith awitness,victim orinformant;and 18 U.S.C.j1513 makesita criminaloffense
plnishableby up toten yearsofimprisonmentanda$250,000fmeto retaliateagainstawimess,victim orinformant,
orthreaten to do so.

       Itisacn'minaloffensetmder18U.S.C.j3146,ifafterhavingbeenreleased,thedefendantknowinglyfailsto
appearasrequired by the conditionsofrele% e,orto surrenderforthe service ofsentence plzrsuantto a courtorder.If
thedefendantwasreleased in connection w1t11a chargeof,orwlzile awaiting sentence,surrenderfortheserviceofa
sentence,orappealorcertiorariafterconviction for:

   (1)an offensepunishableby death,lifeimprisonment,orimprisonmentforaterm offifteenyearsormore
       thedefendantshallbe fined notmorethan $250,000 orimprisoned fornotmorethan ten years,orboth;
   (2)an offensepunishableby imprisonmentforaterm offiveyearsormore,butlessthantèfteen years,the
       defendantshallbefinednotm orethan $250,000 orimprisoned fornotmorethan five years,orboth;
   (3)any otherfelony,thedefendantshallbefined notmorethan $250,000orimprisoned notmorethantwo
       years,orboth;
   (4)amisdemeanor,thedefendantshallbefined notmorethan $100,000 orimprisoned notmorethan one
       year,orboth.

        A term of im prisonm entim posed for failure to appearor surrender shallbe consecutive to the sentence of
im prisonm entforany other offense.In addition,a failttre to appear m ay resultin the forfeiture of any bailposted,
which m enns thatthe defendantw illbe obligated to pay the fullam ountofthe bond,which m ay be enforced by a1l
applicablelaw softheU nited Sltes.




                                                                                                              31
                Case  1:19-cr-00651-LTS
      Case 1:19-mj-03633-LFL
                  Case  1:19-mj-03633-LFLDocument
                               Document 14  Entered64on
                                          Document   7 Filed
                                                        Filed10/21/19
                                                        FLSD  10/11/19 Page
                                                                        Page32
                                                              Docket 10/15/2019of 5Page
                                                                             4 of  35 32 of 35
                                                                                 DEFENDANT:Izxe/. c-
                                                                                                   ,x,4u ',es,q,
                                                                                 cAsENVMBER /f- J4JA w gu/w &
                                                                                                     PA G E Fo t;R
                            PEN ALTIES A ND SANG IO N SAPPLICA BLE TO SU RETIES
Violationby thedefendantofany oftheforegoingconditionsofreleasewillresultin an immediateobligationby the surety orsureties
topaythefullamountofthebond.Forfeitureofthebond forany breach ofoneormoreconditionsmay bedeclared by ajudicial
ofticerofanyUnited StatesDistrictCourthaving cognizanceoftheaboveentitledm atteratthetim eofsuch breach,and ifthebondis
forfeitedandtheforfeitureisnotsetasideorremitted,judgmentmaybeentered uponmotion in suchUnited StatesDi. strictCourt
againsteach suretyjointlyandseverallyfortheamountofthebond,togetherwithintere-standcosts,andexecutionmaybeissuedand
paymentsecured asprovidedbytheFederalRulesofCriminalProcedureand otherlawsoftheUnited States.
                                                       SIG NA TUR ES
lhavecarefully read and 1understandthisentireappearancebond consisting offourpages,or. ithasbeenreadtom e,and,ifnecessary,
translated into my native language,and lknow thatlam obligated by law to comply with allofthe termsofthisbond.lpromiseto
obey allconditionsofthisbond,toappearincourtasrequired,andto surrenderforserviceofany sentenceimposed.1am awareofthe
penaltiesand sanctionsoutlined inthisbond forviolationsofthetermsofthebond.
lflam an agentacting fororon behalfofacorporale surety,IfurtherrepresentthatIam a duly authorized agentforthe corporate
suretyandhavefullpowertoexecutethisbond intheamountstated.

 N O TE :Page 5 ofthisform M U ST be com pleted before the bond w illbe accepted forlling.
                                                                      DEFENDANT
                   z $
                     ..
 si
  gned' '*--dayof 6/ .                                         ,20/$at               to> '' ,Floria
 si      d                        reme:                                     DEFENDANT:tsignaturel
                                                                                 < - M .'                            zr e-.
                            W itness                                                       City                               State

                                                                CO RPO R ATE SU RETY
 Signedthis              day of                                ,20       at                        ,Florida
 SURETY:                                                                      AGENT:(Signature)
                                                                              PRINT NW     :
          Cjt.y                                State

                                                               INDIVIDUA L SURETIES
 Signedthis       dayof           ,20     at                         ,Florida Signedthis   dayof          ,20       at                ,Floricla
 SIJREW :tsignaturel                                                          SUREW :tsignaturel
 PRW TNAM E:                                                                  PRIN TNW :
 RELATIONSIIIPTO DEFENDANT:                                                   RELATIONSH P TO DEFENDW           :

                  City                                 State                               City                               State
 Signedthis       dayof            ,20    at                         ,Florida Signedthts   dayof          ,20       at                ,Florida
 SIJREW :tsignaturel                                                          SURETY:(Signature)
 PRINT NAW :                                                                  PRINT NAM E:
 RELATIONSH P TO DEFENDANT;                                                   RELATIONSH P TO DEFENDANT:

                  City                                 State                               City                               State

                                                       A PPR OV A L BY TH E CO UR T
oate: 161:.
          4 ?q                                                                 LA U REN F.LO U IS
                                                                               UN ITED STA TE S M A G ISTM TE JUD G E

                                                                                                                                           32
          Case  1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
            Case  1:19-mj-03633-LFLDocument
                         Document 14  Entered64on
                                    Document   7 Filed
                                                  Filed10/21/19
                                                  FLSD  10/11/19 Page
                                                                  Page33
                                                        Docket 10/15/2019of 5Page
                                                                       5 of  35 33 of 35

                          U nited States D istrict C ourt
                          Southern D istrict of Florida

                  case Number: /@- m * Jo-arz.
                                             - znqtx

          SUPPLEM ENTA L ATTACHM ENTIS)
 Please refer to supplem entalpaper S'coud file''in the division w here
 the Judge is cham bered.These attachm ents m ustnotbe placed in
 the ''chron file''

 Docum ents Retained in SupplementalCase Files (Scanned orNotScanned)
 CivilCase Docum ents
      *
          Handwritten documents/pleadings (i.e.,pro se)
      *
        Poorquality scanned im ages
      .Photographs
      . CD,DVD,VHS t   apes,cassette tapes
      *
        Surety bonds
      *
          Exhibitsthatcannotbe scanned (e.g.,objects)
      .Bound extradition papers
      .Jury verdict
      .
          Jury notes (unredacted)
      .
          Juryselection m aterials (seating charts,challenges,etc.)
  Crim inalC ase Docum ents
      *Handwritten documents/pleadings (i.e.,pro se)
      . Poorquality scanned im ages
      .Photographs
      . CD,DVD,VHS Tape,Casset     te Tapes
   X *Bond documentatioh (Pg.5 ofbond - Personallnfo)
      * Exhibits
      * Indictm ents
      * A rr
           estw arrants
      * Jur y verdict
      .
          Jury notes (unredacted)
      .
          Jury selection materials (seating chads,challenges,etc.)

  Date: 1.
         9 kïo ttq
                                                                          Revised:8/20/2012
                                                                                              33
            Case  1:19-cr-00651-LTS
  Case 1:19-mj-03633-LFL
              Case  1:19-mj-03633-LFLDocument
                           Document 14  Entered64on
                                      Document   8 Filed
                                                    Filed10/21/19
                                                    FLSD  10/11/19 Page
                                                                    Page34
                                                          Docket 10/15/2019of 1Page
                                                                         1 of  35 34 of 35

                                          M IN UTE O RD ER                                       Page 17

                                M agistrate Judge Lauren F.Louis
               AtkinsBuildingCourthouse-11th Floor                      Date:10/11/2019 Time:1:30p.m.
Defendant: 3)IONELA CONSTANTINESCU J#:(B)                   Case#: 19-3633-MJ-LOUIS
AUSA:Lindsey Friedman/silverman/Rothchild             Attorney: HECTOR FLORES(CJA)
violation:S/D/NY/WARR/INDICT/COMMITACCESSDEVICEFRAUD/WIRE Surr/ArrestDate: YOB21983
          FRAUD/BANKFRAUD/AGGRAVATED IDTHEFT
Proceeding: Rem ovalHearing                                      CJA Appt:
Bond/PTD Held:l Yes t-No                 RecommendedBond:
Bondsetat:$25K PSB                                               Co-signed by:
 IQ
  V Surrenderand/ordonotobtainpassports/traveldocs                    Language:English
 nj
  - ReporttoPTSasdirected/or                   x'saweek/monthby Disposition:
      phone:         x'saweek/monthinperson                            Removalhearin held;Detective
      Random urine testing by Pretrial
 nc services                                                           Frankcleri,TFo/violentcrimes
      Treatmentasdeemed necessary                                      sw orn and testified;Govt'sexhibit#1
 Nr   Refrainfrom excessiveuseofalcohol                                admitted;theGov'tdidprovethat
 Nr   participateinmentalhealthassessment&treatment                    thisistheDefendantnamedinthe
 Nr   Maintainorseekfull-timeemployment/education                      Indictment
 nr   Nocontactwithvictims/witnesses,exceptthroughcounsel
 Nr   Nofirearms                                                       Defendanttoappearinthes/Dof
 Nr   Nottoencumberproperty                                            N.Y.on10/24/19at10:30a-m.
 Nr   Maynotvisittransportationestablishments                          beforeJudgeSwain;Orderof
      Homeconfinement/ElectronicMonitoringand/or                       Rem ovalexecuted
 r-
      Curfew            pm to             am ,paid by
      Allow ances:M edicalneeds,courtappearances,attorney visits,
      religious,em ploym ent
 Nr Travelextendedto:                                                   yjmefromtodayto        excluded
 NV Other:                                                              fromspeedyTrialClock
NEXT COURT APPEARANCE   Date:             Tim e:        Judge:                       Place;
ReportRE Counsel:
PTD/BondHearing' .
Prelim/ArraignorRemoval:
StatusConference RE:
D.A.R.13:41:57/15:28:59                                      Time in Court: 30 m ins
                                 s/Lauren F.Louis                              MagistrateJudge
                                                                                                   34
          Case  1:19-cr-00651-LTS
Case 1:19-mj-03633-LFL
            Case  1:19-mj-03633-LFLDocument
                         Document 14  Entered64on
                                    Document   9 Filed
                                                  Filed10/21/19
                                                  FLSD  10/10/19 Page
                                                                  Page35
                                                        Docket 10/15/2019of 1Page
                                                                       1 of  35 35 of 35




                               UNITED STATESD ISTRICT COURT
                               SOUTHERN D ISTRICT OF FLORIDA
                                    Case N o.l9-3633-M J-LOU IS

United StatesofAm erica
              Plaintiff,



IONELA CON STAN TINESCU,
          D efendant.



                                      O RD ER O F R EM O V A L

       lt appearing that in the SO UTH ERN D ISTRIC T O F N EW YO RK , an Indictm ent was ûled
againsttheabove-nam ed defendanton achargeofCONSPIM CY TO CO M M IT ACCESS DEVICE
FR AU DJW IR E FR AU D/BA NK FM U D/A G G R AVA TED IDEN TITY T H EFT , and that the
defendantwas arrested in the Southern D istrict ofFlorida and w as given a hearing before U nited States
M agistrate Judge Lauren F. Louis at M iam i, Florida, which officially com m itted the defendant for
rem ovalto the SO U TH ER N DISTR ICT O F N EW YO RK ,it is ORD ERED AN D AD JUD G ED that
the defendantbe rem oved to the above-nam ed districtfortrialon said charge.
       A nd it further appearing that the defendant w aived further hearing in the said rem oval
proceedings and was held by the M agistrate Judge Lauren F.Louisforremovaland posted bailin the
am ountof$ 25.000.00 Personal Suretv which was approved by the United States M agistrate Judge
Lauren F.Louis,and itis further ORD ERED thatthe defendantshall appear in the aforesaid districtat
such tim es and places as m ay be ordered by that District Court, in accordance w ith the term s and
conditionsofaforesaid bond furnished by the defendant,and itis furtherO RDERED thatthe funds,plus
interest,w hich m ay have been deposited on behalf of this defendant w ith the Clerk ofthe Courtunder
BailRefonn A ctbe transferred to the districtwhere rem oved.
       D ON E AN D O RD ERED atM iam i,Florida on 10/10/2019.




                                                    aure F.Louls
                                                   U nited States M agistrate Judge



                                                                                                      35
